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          In the United States Court of Federal Claims
                                         No. 18-1124C
                                  (Filed: November 1, 2023)

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WAZEE STREET OPPORTUNITIES
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FUND IV LP, et al.,
                                     *
                                     *
            Plaintiffs,
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                                     *
v.
                                     *
                                     *
THE UNITED STATES,
                                     *
                                     *
            Defendant.
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                                           ORDER

        On October 18, 2023, the court ordered plaintiffs in the above-captioned case to file a
notice of partial voluntary dismissal pursuant to RCFC 41(a)(1)(A)(i) dismissing Counts IX and
XI of their second amended complaint. The deadline for the filing of plaintiffs’ notice was
October 30, 2023. To date the court has received no such filing.

        Accordingly, plaintiffs shall FILE a notice of partial voluntary dismissal pursuant to
RCFC 41(a)(1)(A)(i) dismissing Counts IX and XI of their second amended complaint by no
later than Thursday, November 2, 2023.

       IT IS SO ORDERED.

                                                    s/ Margaret M. Sweeney
                                                    MARGARET M. SWEENEY
                                                    Senior Judge
